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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:06CR116
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
LAVELLE GILES,                               )
                                             )
              Defendant.                     )

       This matter is before the Court on the government’s motion to dismiss Count VI as

against the Defendant, Lavelle Giles (Filing No. 201). Pursuant to Federal Rule of Criminal

Procedure 48(a), leave of court is granted for the dismissal of Count VI of the Indictment

against the above-named Defendant.

       IT IS ORDERED that the government’s motion to dismiss Count VI as against the

Defendant, Lavelle Giles (Filing No. 201) is granted.

       DATED this 24th day of October, 2006.

                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 United States District Judge
